Case 1:15-cr-00001-LG-RHW   Document 124   Filed 08/07/15   Page 1 of 6
Case 1:15-cr-00001-LG-RHW   Document 124   Filed 08/07/15   Page 2 of 6
Case 1:15-cr-00001-LG-RHW   Document 124   Filed 08/07/15   Page 3 of 6
Case 1:15-cr-00001-LG-RHW   Document 124   Filed 08/07/15   Page 4 of 6
Case 1:15-cr-00001-LG-RHW   Document 124   Filed 08/07/15   Page 5 of 6
Case 1:15-cr-00001-LG-RHW   Document 124   Filed 08/07/15   Page 6 of 6
